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                            ** NOT PRINTED FOR PUBLICATION **

                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION

 WILLIAM H. CLOWARD, et al.,                     §
                                                 §
         Plaintiffs,                             §
                                                 §     CIVIL ACTION No. 4-12-CV-336
 v.                                              §
                                                 §     JUDGE RON CLARK
 AURORA LOAN SERVICES LLC, et al.,               §
                                                 §
         Defendants.                             §

                                        FINAL JUDGMENT

         This matter came before the court for trial by jury on November 4, 2013. The court

 empaneled a jury of seven qualified jurors. The case proceeded to trial. The court submitted the

 case the jury on November 6, 2013, and the Verdict of the Jury was in favor of Defendant Aurora

 Loan Services on all of Plaintiffs’ claims. The court accepted the verdict and discharged the

 jury.

         In accordance with the Verdict of the Jury, it is ORDERED that Plaintiffs William H.

 Cloward and Jeanne C. Cloward, shall take nothing, that costs be taxed against Plaintiffs, and

 that all relief not specifically granted here is DENIED. This is a Final Judgment disposing of the

 claims of all parties and is appealable.
               So ORDERED and SIGNED this 8 day of November, 2013.




                                                            ___________________________________
                                                            Ron Clark, United States District Judge




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